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Exhibit
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UNITED STATES DISTRICT. GOURT
SOUTHERN DISTRICT OFMISSISSIPPI

SOUTHERN DIVISION
' UNITED STATES OF AMERICA )
)
Vv. )
| )
WILLIAM JEFFERY PRIEST )
PLEA AGREEMENT
William Jeffery Priest, the Defendant, and his attorney, Doyle L. Coats, have been notified
that: o
4 Defendants Obligations

If the Defendant waives indictment and tenders a plea of guilty to a one count criminal
information to be filed in this case, charging his with the felony ctime of Conspiracy to Deprive Rights.
Under Color of Law, in violation of 18 U.S.C. § 241, and if he fully cooperates with. fedéral'and ‘state
law enforcement, as well as, the Criminal Section of the U.S. Department of Justice, Civil: Rights
Division and the United States Attorney for the Southern District of Mississippi (“Government”)
and with the District Attorney for the Second Circuit Court Disitict of Mississippi (“District
Attorney”), as set out in paragraphs 9 and 10.

2. Government’s Obligations . -

a) Theteafter, the Government will recommend that the. Court: @ accept the
Defendant’s plea of guilty; (ii) recommend that the Court impose a sentence within
the lower 25% of the applicable Sentencing Guidelines range as computed by the
Coutt; and (ii) inform the United States Probation Office and the Court of this
Agreement, the nature and extent of Defendant's activities with respect to this case
and all other activities of Defendant which the Government deems televant to

sentencing, including the nature and extent of Defendant's cooperation with the
Government.

b) The Defendant has timely notified the Government of his intent to enter a plea of
guilty, Lf the Defendant qualifies for a decrease under U.S.S.G. § 3E1.1(a), and if the
Defendant’s offense level determined prior to the operation of U.S.S.G. § 3E1.1(a) is
a level 16 ot greater, the Government will move for an additional one-level decrease

in the guidelines in accordance with U.S.S.G. § 3B1.10b).

c) Should the Government determine that Defendant has provided substantial
assistance to law enforcement officials in an investigation or prosecution, and has
fully complied with the understandings specified in this Agreement, then the
Government may submit 2 motion pursuant to United States Sentencing Guidelines
(U.S.S.G.”) § 5K1.1 (and Title 18, United States Code, Section 3553(e), if
applicable), requesting that the Court sentence Defendant in light of the factors set

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Ne

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forth in U.S.S.G. § 5Kasi (a)(1)=(6). “fhe determination as.to-whether Defendant-has
provided such substatitial assistance shall rest solely with the Government. Should
any investigation in which Defendant offers information be incomplete. at the time
of his sentencing, the ‘Government may, in lien of a downward departure at
sentencing, move for a reduction in sentence putsuant to Rule 35 of the Federal
Rules of Criminal Procedure’ at such time as the cooperation is complete. It is
understood that, even if such a motion is filed, the sentence to be imposed on
- Defendant temains within the sole discretion of the Court.

3. Count of Conviction

It is understood that, as of the date of this Plea Agreement, the Defendant and his attormey

_ have indicated that the Defendant desites to plead guilty to Count One of the Information.

4, Sentence

The Defendant understands that the penalty for the offense charged in Count 1 of the
Information, charging a violation of Title 18, United States Code, Section 241, is a term of
imprisonment not to exceed ten (10) yeats; a term of supervised telease of not less than three 3) .
yeats; and a fine of up to $250,000. The Defendant further understands that a term of supervised —
release will be imposed and that the term will be in addition to any ptison sentence he receives;
further, if any of the terms of supervised release ate violated, the Defendant can be returned to
ptison for the entire term of supervised release, without credit for any time alteady served on the _
term of supervised release ptior to the Defendant’s violation of those conditions. It is further
understood that the Court may require the Defendant to pay restitution in this matter in accordance
with applicable law. The Defendant further understands that he is liable to make restitution for the -
full amount of the loss determined by the Coutt to constitute relevant conduct, which is not limited
to the count of conviction.

. & Stipulation’

The Defendant will plead guilty because he is in fact guilty of the charge contained in Count
One of the Information. In pleading guilty, the Defendant admits and stipulates to the following
facts that establish his guilt beyond a reasonable doubt:

William Jeffery Priest is a Harrison County Sheriff's Department Corrections Officer who

_ worked the Hartison County Adult Detention Center (“Jail”). Priest wotked at the Jail from on or

about August 1, 2004, through the present.

While he was employed at the Jail and acting under color of law, Priest conspited with other
employees at the Jail, also acting under colot of law, to injure, threaten, and intimidate inmates at the
Jail by willfully using excessive and unnecessary physical force against those inmates. The
conspiracy began on a date uncertain before August 1, 2004, and continued through at least January
28, 2006. Priest did not participate in the conspiracy after January 28, 2006.

Priest and his co-conspitators engaged in a pattem of conduct that included, but was not
limited to, Priest and other officers assaulting inmates, knowing that the physical force was

unnecessary, unreasonable, and unjustified.
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During the conspiracy, Priest -patticipated: in numerous assaults against inmates. Priest
observed co-conspirators and other co: cers patticipate in numerous additional assaults
against ir ates at the Jail. Priest also h spirators and other corrections officers boasting
about theif participation in willful and intention uses of excessive force. ,

In addition, Priest conspited with other officers to conceal these instances of physical abuse
of inmates. Priest, co-conspitators, and other..corrections officers attempted to, and did in fact,
conceal. their abusive conduct by failing to document their excessive uses of force, and by giving
false statétiéhts and writing false, vague, and iiisleadine reports.

The information contained in this Stipulation is provided solely to assist the Coutt in
determining whether a factual basis exists for the Defendant’s plea of guilty. The Stipulation does.

tain every fact known to the Defendant and to the Government concerning the Defendant’s
and/ot othet’s involvement in the offense conduct and other matters.

6. Forfeitures
None.
7. This Plea Agreement does NOT.Bind the Court

It is farther understood that the Court, in accord with the principles of Rules 11()(1)@) of -
the Fedetal Rules of Criminal Procedute, is not required to accept the recommendation of the
Government, but may sentence the Defendant to the maximum fine and imprisonment as provided
by law, and the Government has‘no other obligation in tegatd to sentencing than as stated in
patagraph 2.

8. Determination of Sentencing Guidelines

Tt is further understood that the United States Sentencing Guidelines ate advisory and-that
the Defendant and the Defendant’s attorney have discussed the fact that the Court must review the
Guidelines in teaching a decision as to the appropriate sentence in this case, but the Court may
impose a sentence other than that indicated by the Guidelines if the Court finds that another
sentence would be more appropriate. The Defendant acknowledges that he is not relying upon
attyone’s calculation of a particular Guidelines range for the offense to which he is entering his plea,
and recognizes that the Court will make the final determination of the sentence and that he may be
sentenced up to the maximum penalties set forth above.

9, Willingness to Cooperate

It is further understood and specifically acknowledged by the Defendant that the
consideration for the action taken by the Government herein is the Defendant's representation, by
execution of this Plea Agreement and otherwise, that the Defendant both can and will carry out the
terms and conditions contained herein. :
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eeruierageneienen sinaiere 4

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10.

It is further understood that full cooperation referred to in paragraph 1 includes:

a) ifamediate and truthful disclosure of all matters involved in this charge to the
apptoptiate federal and state agents;

b) truthful and complete disclostite of other matters involving possible violations of
fedetal law to the appropriate federal or state agency as directed by the Government;

c) . truthful testimony at any trial involving any matter atising from these charges, in
federal or state court;

d) . truth fil testimony before any Grand Jury ot at any trial in this or any other district
on any matter about which the Defendant has knowledge and which is deemed
pertinent to the Government; oe

e) ° fall and truthful cooperation with the Government, with any law enforcement -

agency designated by the Government, and/or the District Attorney’s office;

f) attendance at all meetings at which the U.S. Attorney or the District Attorney

. tequests his presence;

2) provision to the Government, upon request, of any document, record, or other
tangible evidence relating to matters about which the Government, any designated
law enforcement agency, and/or the District Attorney inquires of him; and ,

h) an obligation on the part of the Defendant to commit no further crimes whatsoever.

11. Limits on Further Prosecution

It is further understood that the Government and the District Attorney will seek no further
criminal prosecution of the Defendant.for any acts or conduct by the Defendant as of the. date of
this Agreement, arising out of any event covered by the Information referenced in patagraph 1, if
the Defendant voluntatily, truthfully, and completely discloses all information and knowledge that
the Defendant possesses. Should the Defendant not voluntarily and completely disclose, then as to
that matter, the Government and/or the District Attorney is free to seek prosecution of the
Defendant. This Plea Agreement does not provide any protection against prosecution for any
crimes except as set forth above. oo

12. Breach of this Agteeme t

It is farther understood that should the Defendant fail or refuse as to-any part of this Plea
Agreement ot commit any other crimes, the reptesentations by the United States or the District
‘Attorney in paragraphs 2 and 11 above ate rescinded, and the Defendant’s breach shall be
considered sufficient grounds for the pursuit of any prosecutions that the Government or the
District Attorney has not sought as a result of this Plea Agreement, including any such prosecutions
that might have been dismissed or otherwise batred by the Double Jeopardy Clause.

If the Defendant fails to fulfill his obligations under this Plea Agreement, the United States
may seek release from any ot all obligations under-this Plea Agreement. If the Defendant fails to

- falfill his obligations under this Plea Agreement, the Defendant shall assert no claim under the

United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(e)(6) of
the Federal Rules of Criminal Procedure, ot any other federal rule, that the Defendant’s statements
pursuant to this Plea Agreement or any leads derived therefore, should be suppressed or ate
inadmissible, Whether the Defendant has breached any provision of this Plea Agreement, if

4
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contested: by the parties, shall-be determined-by. the Court in an appropriate proceeding at which. the
Defendant’s disclosures and documentaty eviderice shall be admissible and at which the United
States shall be required to establish a breach of the Plea Agreement by a preponderance of the
evidence. . ,

It-is futther understood that this Plea Agreement does not bind any other state or local
prosecuting authorities or any other federal district, except as otherwise provided herein; farther,
this Plea Agreement does not bind the Attorney General of the United States in regard to any
matter, civil ot criminal, involving the tax statutes of the United States.

14, Financial Obligations

It is further understood and specifically agreed to by the Defendant that, at the time of the
execution of this document or at the time his plea is entered, the Defendant will then and there pay’
ovet the special assessment of $100.00 per count required by Title 18, United States Code, § 3013, to
the Office of the United States District Court Clerk; the Defendant.shall thereafter produce proof of
payment to the Government or to the U.S. Probation Office: If the Defendant is adjudged to be
indigent, payment of the special assessment at the time of the plea is waived, but the Defendant
agrees that it may be made payable first from any funds available to the Defendant while he is
‘incarcerated, The Defendant understands and agtees that, pursuant to Title 18, United States Code,

§ 3613, whatever monetaty penalties are imposed by the Court will be due and payable itnrtiediatély
and subject to immediate enforcement by the United States as provided in § 3613. Furthermore; the

Defendant agrees to provide all of his financial information to the United States and the Probation

Office and, if requested, to participate in a pre-sentencing debtor's exaihination. If. the “Court
imposes a schedule of payments, the Defendant understands that the schedule of payments is merely
a tninimum schedule of payments and not the only method, nor a limitation upon the methods,
available to the United States to enforce the judgment. If the Defendant is incarcerated, the
Defendant agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility Program
regatdless of whether the Court specifically directs his participation or imposes a schedule of

payments.

1b. Further Crimes

It is farther understood that should the Defendant commit any further crimes, this Plea
Agreement shall be deemed violated and he shall be subject to prosecution for any federal or state
ctiminal violation of which the Government has knowledge, and that any information provided by
him may be used against him.

16. Waivers

The Defendant, knowing and understanding all of the matters aforesaid, including the
maximum possible penalty that could be imposed, and being advised of his rights to remain silent, to
a trial by jury, to subpoena witnesses on his own behalf, to confront any witnesses against him, and
to appeal his conviction and sentence, in exchange for the recommendations and concessions made
by the Government or the District Attorney in this Plea Agreement, hereby expressly waives the
above tights and the following: \
pith Uleseereetenteeth Semaine pennennee Steen

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tion.ahd sentence imposed in this case, or the mannet
in which that sérit imposed, on the grounds set forth in Title 18, United
States Code, § 3742, Ay ground, provided the sentence does not exceed the
‘maximum sentence allowed by the statute; and .

a. The tight to appeal the

b. The tight to contest the conviction and sentence ot the manner in which the
sentence was imposed in any post-conviction proceeding, including but not limited
‘to a motion brought under Title 28, United States Code, § 2255, and any type of
proceeding claiming to double jeopardy or excessive penalty.as a result of any
forfeiture ordeted or to be ordered in this case; and

C. Any tight to seek attorney’s fees and/or costs under the Flyde Amendment, as codified
at Title 18, United States Code, § 306A, and the Defendant acknowledges that the.
Government’s position in the instant prosecution, is not merely frivolous, vexations,
ot undertaken in bad faith; and

d. All rights, whether asserted directly or through a representative, to request ot receive
any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including without limitation any records
that may be sought by him or his representative under the Freedom of Information
Act, set forth at Title 5, United States Code, § 552, or the Privacy Act of 1974, at
Title 5, United States Code, § 552a.

e. The Defendant further acknowledges and agrees that any factual issues tegarding. his
sentencing will be resolved by the sentencing judge under a preponderance of the
evidence standard, and the Defendant waives any tight to a jury detetmination..of
these sentencing issues. The Defendant further agrees that, in making its sentencing -
decision, the District Court may consider any relevant evidence without regard to its
admissibility under the Rules of Evidence applicable at trial.

The Defendant waives these rights in exchange for the recommendation and
concessions made by the Government and the District Attorney im this Plea
Agreement,

47. Future Contact with the Defendant

The Defendant and his attorney acknowledge that if forfeiture, restitution, a fine, or special
assessment, or any combination of these is ordered in the Defendant’s case, that this will require
regular contact with the Defendant during any period of incarceration, probation, and supervised
release. Further, the Defendant and his attorney understand that it is essential that defense counsel
contact the Financial Litigation Unit of the Government immediately after sentencing in this case to .
confirm in writing whether defense counsel will continue to represent the Defendant in this case and
in matters involving the collection of the financial obligations imposed by the Court. If the
Government does not receive any written acknowledgment from defense counsel within two weeks
of entry of judgment in this case, the Government will presume that defense counsel no longer
represents the Defendant and the Financial Litigation Unit will communicate directly with the
Defendant regarding collection of the financial obligations imposed by the Court. The Defendant
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and-his attotmey understand and agree-that such. direct contact with the Defendant shall. not.be
= EnDIer Der ex parte contact: with: the Defetidant if defense counsel fails’ to notify the
; any continued legal tepresentation within two weeks after the date of entry of the

Tt is further understood that this Plea Agreement completely reflects all promises,
agreements, and conditions made by and among the Government, the District Attorney, and the
Defendant.

The Defendant and his Attorney declate that the terms of this Plea Agreement have been:
READ TO OR BY HIM;

1

2. EX LAINED TO HIM BY HIS ATTORNEY;
3. UNDERSTOOD BY HIM;
4
5

VOLUNTARILY ACCEPTED BY HIM; and
AGREED TO AND ACCEPTED BY HIM.

WITNESS OUR SIGNATURES, as set forth helow on January 14, 2007.

So ENT: FOR THE DEFENDANT:
= SA of SJB) Bedi [47> O°7

Dunn Lampton. Date William Jeffery Priest = - Date
United States Attorney Defendant .

by: Jack Brooks Lacy, Jt.

Assistant United States Attorney

Ay L Se Lk Son he G. oat LLB?

Lisa M. Krigsten ~ Date Doyle’... Coats, Esq. Date
Sp eci Litigation | Counsel - Attorney for Defendant

John Cotton Richmond Date
. Trial Attorney
Civil Rights oe) Criminal Section

(be Cb (date j- (4-108

Coxio Caranna _ Date
District Attomey
Second Circuit Court District
Case 1:08-cv-00090-LG-RHW Document 211-6 Filed 12/14/09 Page 9 of 22
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> @A0 245B — (Rev. 06/05) Judgment in a Criminal Case

Sheet 1_

-DISTRIGT COURT

MISSISSIPPI

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
vo Vv.
William Jeffery Priest
: Case Number: 1:07cr4LG-JIMR001
USM Number: _ 08286-043
Doyle Coats

Defendanit’s Attorney
THE DEFENDANT: __
™ pleaded guilty to count(s) ]

(1 pleaded nolo contendere to count(s)

which was accepted by the court.
C1 was fourid guilty on count(s)
after a plea of not guilty. |

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense , Offense Ended Count
18 U.S.C. 241 Conspiracy against rights | 1
_
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
(] The defendant has been found not guilty on count(s)

[| Count(s) ‘Clis [1 are dismissed on the motion of the United States.

Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,

-or mailing address until all fines, restitution, costs, and spécial assessments imposed by this judgment are fully paid. If ordered to pay restitution,

the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/5/2007

Date of Imposition of Judgment

4/douii Luirola,, tr.

Signature of Judge

Louis Guirola Ir ILS. District Indge
Name and Title of J udge

1/2/2007

Case 1:08-cv-00090-LG-RHW Document 211-6 | Filed 12/14/09 Page 10 of 22
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"AOQ245B (Rev. 06/05) Judgment in Criminal Case
Sheet 2 — hnprisoniment

Judgment — Page 2 of “6

DEFENDANT: William Jeffery Priest
S4SE NUMBER: 1:07cr4LG-IMR-001

a

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: ‘

21 months as to Count 1

W@ The court makes the following recommendations to the Bureau of Prisons:
that Defendant be designated to an institution which is closest to his home for which he is eligible

(The defendant is remanded to the custody of the United States Marshal.

[The defendant shall surrender to the United States Marshal for this district:

OO at _ 2:00 Oam = pm on

1 as notified by the United States Marshal.
OR

Ahe Upi
‘the Upited Sere ban on _January 14, 2008

C1 sas notified by the United States Marshal.

@ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons or, if not yet designated, -

{1 as notified by the Probation or Pretrial Services Office.

RETURN
J have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
1

AO 2458

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" Rey.'06/05) Judemnene i

vt

a Crimtinal Case

Judgmént—Page 3. of 6

__-William Jeffery Priest
"2076r4LG-TMR-001

SUP! RELEASE

Upon release from imprisonment, the defendant shall.be on suipérvised release for a term of:

two years as to Count 1

awfully possess. a controlled substance. The defendant shall refrain from any unlawful use of a controlled
at hel stibmit to one drug test within 15 days of release from imprisonmént and at least two peribdic drug tests
ed by the court.” : : ,

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

a
oO
oO The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a

sttident, as ditected by the probation officer. (Check, if applicable.)
CQ

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance withthe .. :
theduile ‘of Payments sheet of this judgment. : 4 4

“  The'defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions:
on the attached page. é a

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the. Gefendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days.of,
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities; oO

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
abceptablé reasons; ’ .

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlléd substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) - the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer; : .

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the

permission of the court; and

os 43) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal

record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
Case 1:08-cv-00090-LG-RHW Document 211-6 Filed 12/14/09 Page 12 of 22
4x ( -00004 Le -JMR Document17 Filed 11/13/2007 Page 4 of 6

““Jadgmient Page 2" of 6

tise, as directéd by the probation
th Br officer: The déferidant shall contribute
ed capable by the probation officer.
Case 1:08-cv-00090-LG-RHW Document 211-6 Filed 12/14/09 Page 13 of 22
AOS — (Rev PARRA AOfatreQQ004.- C-IMR Document 17 —- Filed 11/13/2007 Page5of6

. She Criminal Mi nalties
oo sees Judgrnent—— Page _-5 of 6
William Jeffery Priest | oO
“ASE NUMBER: 1;07cr4LG-JMR-001
as CREVEINAL MONETARY, PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ $
(11 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case(AO 245C) will be entered

after such determination.
{1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
thé’ priority ordér ‘or percentage payment column below. However, pursuant to 18 U.S.C. § 3664), all nonfederal victims must be paid
before’ tlie United States is paid.

Name ‘of Payee Total Loss* Restitution Ordered Priority or Percentage
}
TOTALS $ 0 $. 0

CI Restitution amount ordered pursuant to plea agreement $

([] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution of fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest and itis ordered that:
C1 the interest requirement is waived forthe [1 fine [1] restitution.

[] the interest requirement forthe [] fine [1] restitution is modified as follows:

\
j

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996. :
Case 1:08-cv-00090-LG-RHW Document 211-6 Filed 12/14/09 Page 14 of 22

sores con GEERT AOMALG-IMR Document 17 Filed 11/13/2007 Page 6 of ®
~_ Sheet 6— Seed a Cas Poe

J udgment —Page 6 of _6

DEFENDANT: William Jeffery Priest
CASE NUMBER: 1:07cr4LG-IMR-001

SCHEDL

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A ({ Lump sum payment of $ _ 100,00 due immediately, balance due

[] not later than __ or
fF] in accordance oa OD OF Zor (1 F below; or

[1 Payment to begin immediately (may be combined with (IC, [1D,or [)F below); or

(c] Paymentinequal _ (e.g., weekly, monthly, quarterly) installments of $ ___ over a period of
_ (€.g., months or years), tocommence __ (e.g., 30 or 60 days) afte? the date of this judgmient; or
D [C1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence _ -_ (e.g., 30 or 60 days) after release from imprisonment to a
term of stipervision; or

-E 1 Payment during the term of supervised release will commence within (e.g:, 30 or 60 days) after release from ~
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or.

F (0 Special instructions regarding the payment of criminal monetary penalties:

J

Uniess the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment, All criminal monetar’ penalties, except those payments made throug the Federal Bureau of Prisons’Inmate Financial’
Responsibility Program, are made to the clerk of the court. co .

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(1 Soint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[] The defendant shall pay the cost of prosecution.
[1 The defendant shall pay the following court cost(s):

(2 The defendant shall forfeit the defendant’s interest in the following property to the United States:

4

/

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs,.including cost of prosecution and court costs.

See
Case 1:08-cv-00090-LG-RHW Document 211-6 Filed 12/14/09 Page 15 of 22

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Case 1:06-cr-00116-LG-JMR Document5 Filed 11/22/2006 Page 14 of 8

SOUTHERN DISTRICT OF MISSISSIFAT
FILED
UNITED STATES DISTRICT COURT '
SOUTHERN DISTRICT OF MISSISSIPPI NOV 2 2 2008
. JACKSON DIVISION |
UNITED STATES OF AMERICA )
.
MORGAN LEE THOMPSON )
PLEA AGREEMENT —

Morgan Lee Thompson, the Defendant, and his attorney, James L- Farrior, III, have been
notified that:

1. Defendants Obligations ~

If the Defendant waives indictment and tenders a plea of guilty to a one count criminal
information to be filed in this case, charging him with the felony crime of Comspiracy to Deprive
Rights Under Color of Law, in violation of 18 U.S.C. § 241, and ifhe fully cooperates with federal
and state law enforcement, as well as, the Criminal Section of the U.S. Department of Justice, Civil
Rights Division and the United States Attomey for the Southern District of Mississippi
(“Government”) and with the District Attomey for the Second Circuit Court District of Mississippi
(“District Attorney”), as set out in paragiaphs 9 and 10. ,

2. Government's Obligations

a) Thereafter, the Govertiment will recommend that the Court: () accspt the :
Defendant’s plea of guilty; and (ii) inform the United States Probation Office and the
Court of this Agreement, the nature and extent of Defendant's activities with respect
to this case and all other activities of Defendant which. the.Government deems
relevant to sentencing, including the nature and extent of Defendant's cooperation
with the Government.

b} The Defendant has timely notified the Government of his intent io enter a plea of
guilty. Ifthe Defendant qualifies for a decrease under U.S.S.G. § 3E1.1(a), andifthe |
Defendant’s offense level determined prior-to the operation of U.8.8,G. § 3E1. 1(a)
is a level 16 or greater, the Government will move for an additional one-level:

_ decrease in the guidelines in accordance with U.S.8,G, § 3E1 .1(b).

¢) | Shouldthe Government determine that Defendant has provided substantial assistance
to law enforcement officials in an investigation or prosecution, and has fully
complied with the understandings specified in this Agreement, then the government
may submit a motion pursuant to United States Sentencing Guidelines (“U.S.S.G.") °

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§ 5K1.1 (and Title 18, United States Code, Section 3553 (e), if applicable),
requesting ‘that the Court seritence Defendant in light of the factors set forth in
U.S.S.G. § SK1.1(a)(1}-(5). The determination as to whether Defendant has provided
such substantial assistance shall rest solely with the Government. Should any
investigation in which Defendant offers information be incomplete at the titne of his
sentencing, the Government may, in lieu of a downward departure at sentencing,
move for a reduction in sentence pursuant to Rule 35 of the Federal Rules of
Criminal Procedure at such time as the cooperation is complete. It is understood that,
even if such a motion is filed, the sentence to be imposed on Defendant remains
within the sole discretion of the Court.

3. Count of Conviction

It is understood that, as-of the date of this Plea Agreement, the Defendant and his attorney
have indicated that the Defendant desires to plead- guilty to Count One of the Information,

4, Sentence

The Defendant understands that the penalty for the offense charged in Count 1 of the
Information, charging a violation of Title 18, United States Code, Section 241, is a term of
imprisonment not te exceed ten (10) years; a term of supervised release of not less than three (3)
years; and a fine of up to $250,000. The Defendant further understands that a term of supervised
release will be imposed and that the term will be in addition to any prison sentence he receives;
further, if amy of the terms of supervised release are violated, the Defendant can be returned to prison
for the entire term of supervised release, without credit for any time already served on the term of
supervised release prior to thé Defendant’ violation of those conditions. Itis further understood that
the Court may require the Defendant to pay restitution in this matter in accordance with applicable
law; The Defendant further understands that he is liable to make restitution for the full amount of

the loss determined by the Court to constitute relevant conduct, which is not limited to the count of
conviction.

5. Stipulation

The Defendant will plead guilty because he is in fact guilty of the charge contained in Count
One of the Information. In pleading guilty, the Defendant admits and stipulates to the following facts
that establish his guilt beyond a reasonable doubt:

Morgan Lee Thompson is a former Harrison County Sheriff's Department Corrections
Officer who worked the Harrison County Adult Detention Center (“Jail”), Thompson worked at the
Jail from on or about May 17, 2004, through on or about September 25, 2006. For most of that time,
Thompson was assigned to the Jail’s Booking area. - :

While he was employed at the Jail and acting under color of law, Thompson conspired with
other employees at the Jail, also acting under color of law, to injure, threaten, and intimidate inmates

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"at the Jail by willfully using excessivé and unnecessary physical force against those inmates. The
conspiracy began on a date uncertain before May 17, 2004, and continued through at Jeast August
28, 2006. .

Thompson and his co-conspirators engaged i in apattern ‘of conduct that included, but was not
limited to, Thompson and other officers striking, punching, kicking, choking, and otherwise
assaulting inmates, knowing that the physical force was unnecessary, unreasonable, and unjustified.

During the conspiracy, Thompson participated i in over one hundred assaults. against inmates,
Thompson observed co-conspirators participate in over one hundred additional assaults against
inmates at the Jail. Thompson also heard co-conspirators boasting about their participation in willful
and intentional uses of excessive force. The physical abuse of the inmates usually occurred in the
Booking area, the holding cells, the Booking shower, the “B” hallway, the exercise yard, or inthe ~
housing blocks.

In addition, Thompson conspired with other officers to conceal these instances of physical
abuse of inmates, Thompson and his co-conspirators attempted, to, and did in-fact, conceal their
abusive conduct by failingto document their excessive uses of force, and by giving false staternents
and writing false, vague, and: misleading teports.

The conspiracy included the February 4, 2006, assault committed ty officers against Jessie
Lee Williams, Jr. (“Williams”), an inmate who died after his interaction with the. officers. . During
the Williams assault, Corrections Officers Ryan Michael Teel and Regina Lynn Rhodes committed
numerous physical acts that were not justified uses of force, Those acts included, but were slot
limited to, Teel striking, punching, choking, and dtherwise assaulting Williams in the head, neck and
other areas of Williams’ body, The assault by Teel and Rhodes occurred while Williams was .
restrained and the circumstances did not justify any use of force. Thompson assisted Teel by helping
to restrain Williams during part of the unjustified assault, Williams lapsed into unconsciousness
shortly after those acts. .

In furtherance of the i conspiracy, Thompson wrote and submitted a false, misleading, and
intentionally ‘vague ‘report concerning the Williams incident. Oxn.or about February 8, 2006,
Mississippi Highway Patrol agents interviewed Thompson, Duting that interview, and in furtherance

_ of the conspiracy, Thompson provided false, misleading, and intentionally vague information
concerning the Williams incident. On or about June 14, 2006, Federal Bureau of investigation —
agents’ interviewed Thompson. During that: interview, and in furtherance of the conspiracy, -
‘Thompson provided false, misleading, afd intentionally vague information concerning the Wiliams °
incident, 4 as well as other acts that took place during the conspiracy.

The information contained in this Stipulation is provided solely to assist the Court in
determining whether a factual basis exists for the Defendant’s plea of guilty. The Stipulation does
not contain every fact known to the Defendant and to the Government concerning the Defendant’s
and/or other’s involvement in the offense conduct and other matters,

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6. Forfeitures
None.

qe This Plea Agreement does NOT Bind the Court

Itis further understood that the Court, in accord with the principles of Rules 11(2)(1)(B) of
the Federal Rules of Criminal Procedure, is not required to accept the recommendation of the
Government, but may sentence the Defendant to the maximum fine and imprisonment as provided
by law, and the Government has: no other obligation in régard to sentencing than as stated in
paragraph 2. :

8. Determination of Sentencing Guidelines

It is further understood that the United States Sentencing Guidelines are advisory and that
the Defendant and the Defendant’s attorney have discussed the fact that the Court must review the
Guidelines in reaching a decision as to the appropriate sentence in this case, but the Court may
impose a sentence other than that indicated by the Guidelines ifthe Court finds that another sentence
would be more appropriate, The Defendant acknowledges that he is not relying upon anyone’s
calculation of a particular Guidelines range for the offense to which he is entering his plea, and
recognizes that the Court will make the final determination of the sentence and that he may be
sentenced up to the maximum penalties set forth above. ,

9, -° Willingness to Cooperate

It is further understood and specifically acknowledged by the Defendant that the ~
consideration for the action taken by the Government herein is the Defendant’s representation, by
execution of this Plea Agreement and otherwise, that the Defendant both can and will carry out the
terms and conditions contained herein.

10. Terms of Cooperation

It is further understood that full cooperation referred to in paragraph 1 includes:

a) immediate and truthful disclosure of all matters involved in this charge to the .
appropriate federal and state agents; oo

by truthful and complete disclosure of other matters involving possible violations of
federal law to the appropriate federal or state agency as directed by the Government;

c) truthful testimony at any trial involving any matter arising from these charges, in

federal or state court; , .

a) truthful testimony before any Grand Jury. or at any trial in this or any other district on
any matter about which the Defendant has knowledge and which is deemed pertinent
to the Government; , ‘

e) full and truthful cooperation with the Government, with any law enforcement agency
designated by the Government, and/or the District Attorney’s office;

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f) attendance at all meetings at which the U.S. Attorney or the District Attomey
requests his presence;

(g) provision to the Government, upon request, of any document, record, or other
tangible evidence relating to matters about which the Government, any designated
law enforcement agency, and/or the District Attorney inquires of him; and

(h) an obligation on the part of the Defendant to commit no further crimes whatsoever.

Ik. Limits on Further Prosecution

Itis further understood that the Government and the District Attorney will seek no fiirther
criminal pro secution of the Defendant for any acts or conduct by the Defendant as of the date of this
Agreement, arising out of any event covered by the Information referenced in paragraph 1, if the

’ Defendant voluntarily, truthfully, and comnpletely discloses all information and knowledge that the
Defendant possesses. Should-the Defendant not voluntarily and completely disclose, then as to that
matter, the Government and/or the District Attorney is free to seek prosecution of the Defendant.
This Plea Agreement does not provide any protection agairist prosecution for any crimes except as
set forth above. :

12. Breach of this Agreement

It is further understood that should the Defendant fail or refuse as to any part of this Plea
Agreement or commit any other crimes, the representations by the United States or the District
Attorney in paragraphs 2 and 11 above are rescinded, and the Defendant's breach shall be considered
sufficient grounds for the pursuit of any prosecutions that the Government or the District Attorney
has not sought as a result of this Plea Agreement, including any. such prosecutions that might have .
been dismissed or otherwise barred by the Double Jeopardy Clause.

‘Tf the Defendant fails to fulfill his obligations under this Plea Agreement, the United States
may seek release from any or all obligations under this Plea Agreement. Ifthe Defendant fails to
fulfill his obligations under this Plea Agreement, the Defendant shall assert no claim under the

. United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(¢)(6) of
the Federal Rules of Criminal Procedure, or any other federal rule, that the Defendant’s statements
pursuant to this Plea Agreement or any leads derived therefore, should be suppressed or are
inadmissible, Whether the Defendant has breached any provision of this Plea Agreement, if
contested by the parties, shall be determined by the Court in an appropriate proceeding at which the
Defendant's disclosures and documentary evidence shall be admissible and at which the United
States shall be required to establish a breach of the Plea Agreement by a preponderance of the
evidence. ’

13. Binding Effect on this Federal District or Upon the District Attorney

It is further undetstood that this Plea Agreement does not bind any other state or local:
prosecuting authoritiés or any other federal district, except as otherwise provided hereim, further, this
agreement does not bind the Attorney General of the United States in regard to any matter, civil or

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criminal, involving the tax statutes of the United States.

i4. Financial Obligations

It is further understood and specifically agreed to by the Defendant that, at the time of the
execution of this document or at the time his plea is entered, the Defendant will then and there pay
over the special assessment of $100.00 per count required by Title 18, United States Code, § 3013,
to the Office of the United States District Court Clerk; the Defendant shall thereafter produce proof
of payment to the Government or to the U.S. Probation Office. Ifthe Defendant is adjudged to be
indigent, payment of the special assessment at the time of the plea is waived, but the Defendant
agrees that it may be made payable first from any funds available to the Defendant while he is
incarcerated. The Defendant understands and agrees that, pursuant to Title 18, United States Code,
§ 3613, whatever monetary penalties are imposed by the Court will be due and payable immediately
and subject to immediate enforcement by the United States as provided in § 3613. Furthermore, the
Defendant agrees to provide-all of his financial information to the United States and the Probation
Office and, if requested, to participate in a pre-sentencing debtor’s examination. If the Court
imposes a schedule of payments, thé Defendant understands that the schedule of payments is merely
a minimum schedule of payments and not the only méthod, nor a limitation upon the methods,
available to the United States to enforce the judgment, If the Defendant is incarcerated, the
Defendant agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility Program
regardless of whether the Court specifically directs his participation or imposes a schedule of
payments,

15. Further Crimes

It is further understood that should the Defendant commit any further crimes, this Plea |
Agreement shal! be deemed violated and he shall be subject to prosecution for any federal or state
" criminal violation of which the Government has knowledge, and that any information provided by
him may be used against him. :

16. , Waivers

The Defendant, knowing and undeistanding all of the matters aforesaid, including the
maximum possible penalty that could be imposed, and being advised of his rights to remain silent,
to a trial by jury, to subpoena wittiesses on his own behalf, to confront any witnesses against him, —
and to appeal his conviction and sentence, in exchange for the recommendations and concessions
made by the Government or the District Attorney in this Pléa Agreement, hereby expressly waives
the above rights and the following:

a, The right to appeal the conviction and sentence imposed in this case, or the manner
in which that sentence was imposed, on the grounds set forth in Title 18, United
States Code, § 3742, on any ground whatsoever; and :

b, The right to contest the conviction and sentence or the manner in which the sentence

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was imposed in any post-conviction proceeding, including but not limited to amotion
brought under Title 28, United States Code, § 2255, and any type of proceeding
claiming to double jeopardy or excessive penalty as a result of any forfeiture ordered
or to be ordered in this case; and ‘

C, Any right to seek attorney's fees and/or costs under the Hyde Amendment, as codified
at Title 18, United States Code, § 306A, and the Defendant acknowledges that the
Government’s position in the instant prosecution is not merely frivolous, vexations,
or undertaken in bad faith; and .

d, Allzights, whether.asserted directly or through a representative, to request or receive
any department or agency of the United States any records pertaining to the
‘investigation or prosecution of this case, including without limitation any records that
may be sought by him or his representative under the Freedom of Information Act,
set forth at Title 5, United States Code, § 552, or the Privacy Act of 1974, at Title 5,
United States Code, § 552a,

e. - The Defendant further acknowledges and agrees that any factual issues regarding his
| sentencing will be resolved by the sentencing judge under a preponderance of the
evidence standard, and the Defendant waives any right to’a jury determination of
these sentencing issues. ‘The Defendant further agrees that, in making its sentencing
decision, the District Coutt may consider any relevant evidence without regard to its
admissibility under the Rules of Evidence applicable at trial.

The Defendant vaives these rights in exchange for the recommendation and
concessions made by the Government and the District Attorney in this Plea Agreement.

17. Future Contact with the Defendant

_ The Defendant and his attorney acknowledge that if forfeiture, restitution, a fine, or special
assessment, or any combination of these is ordered in the Defendant’s case, that this will require
regular contact with the Defendant during any period of incarceration, probation, and supervised
release. Further, the Defendant and his attorney understand that it is essential that defense counsel
contact the Financial Litigation Unit of the Government immediately after sentencing in this case
to confirm in writing whether defense counsel will continue to represent the Defendant in this case
and in matters involving the collection of the financial obligations imposed by the Court. If the,
Government does not receive any written acknowledgment from defense counsel within two weeks
of entry of judgment in this case, the Government will presume that defense counsel no longer
represents the Defendant and the Financial Litigation Unit will communicate directly with the
Defendant regarding collection of the financial obligations imposed by the Court. The Defendant
and his attorney understand and agree that such direct contact with the Defendant shall not be
deemed an improper ex parte contact with the Defendant if defense counse] fails to notify the

Government of any continued legal representation within two weeks after the date of entry of the
judgment in this case.

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18, Complete Agreement

itis further understood that this Plea Agreement completely reflects all promises, agreements,
and conditions made by ard among the Government, the District Attorney, and the Defendant.

The Defend ant and his Attorney of record declare that the terms of this Plea Agreem ent have
been:

_ READ.TO OR BY BIM;
EXPLAINED TO BEM BY HIS ATTORNEY;
UNDERSTOOD BY HIM;
VOLUNTARILY ACCEPTED BY HIM; and
_ AGREED TO AND ACCEPTED BY HIM. -

Aer

WITNESS OUR SIGNATURES, as set forth below on November 21, 2006, .

FOR THE GOVERNMENT: ., _ FOR THE DEFENDANT:

~~ 7 OTE ene .

, nase. ~~, or oe
Dunn Lampton ‘Date Morea Lee Thompson ". Date -
United States Attorney . ‘ Defendant
by: Jack Brooks Lacy, Jr.

- Assistant United States Attorney .
\al-cle Ovo we t2no8
Date Jantds L. FérriorTll, Esq. .- Date’.
mney for Defendant -

A . a Na ODS
John Cotion Richmond =~ . Date -
Trial Attorney

Civil Rights Division, Criminal Section

Ae M2 2006
Con Cararina "Date
District Attorney re

Second Circuit Court District

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